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                          ATTACHMENT A
                    INFORMATION TO BE SEARCHED

      The FBI San Diego Field Office maintains a copy of records of
expliamdavis@gmail.com obtained from Google LLC pursuant to the Prior Warrant
on May 21, 2021. These records are located at the FBI San Diego Field Office at
10385 Vista Sorrento Parkway, San Diego, CA 92121.
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                                 ATTACHMENT B

The search of the data supplied by Google LLC pursuant to the Prior Warrant (at
Exhibit A, incorporated herein) for expliamdavis@gmail.com will be conducted by
the FBI as provided in the “Procedures For Electronically Stored Information” of the
affidavit submitted in support of this search warrant and will be limited to the period
of January 1, 2021, to May 17, 2021, and to the seizure of:

      a.     Communications, records, and attachments tending to discuss or
             establish the creation of businesses, records, invoices, transactions, Bill
             of Lading information, and shipping information to conceal the
             distribution of controlled substances or to set up test runs of such
             shipments;

      b.     Communications, records, and attachments tending to discuss the
             legitimate cargo or details of the modes of transportation being used
             conceal the distribution of narcotics or to set up test runs of such
             shipments;

      c.     Communications, records, and attachments tending to identify the
             individuals and locations sourcing the concealed narcotics as well as
             the recipient individuals and locations and Ports of the concealed
             narcotics;

      d.     Communications, records, and attachments tending to identify the users
             of screen names TOM FORD, Sion, and any co-conspirators (such as
             Liam Davis) involved in the activities in paragraphs (a)-(c) above; and

      e.     Communications, records, and attachments that provide context to any
             communications described above, such as electronic mail sent or
             received in temporal proximity to any relevant electronic mail and any
             electronic mail tending to identify user(s) of the subject account.

which are evidence of violations of Title 21, United States Code, Sections
841(a)(1), 846.
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